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                     UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE



United States of America

             v.                              Case No. 10-cr-48-01/03 SM

Luis Alberto Reyes, et al



                                    ORDER

       The defendant, through counsel, has moved to continue the trial scheduled for

September 21, 2010 for a period of 60 days, citing the need for additional time to

review discovery. The government and co-defendants do not object to a continuance

of the trial date.

       Accordingly, for the above reasons, the court will continue the trial from

September 21, 2010 to December 7, 2010. In agreeing to continue the trial, the court

finds pursuant to 18 U.S.C. § 3161(h)(7)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the best interests of the

public and the defendants in a speedy trial. The defendant shall file a waiver of

speedy trial not later than September 10, 2010.
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     Final Pretrial Conference:       November 23, 2010 at 2:00 PM

     Jury Selection:                  December 7, 2010 at 9:30 AM

     SO ORDERED.



September 1, 2010                      _________________________
                                      Steven J. McAuliffe
                                      Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




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